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                           UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

DEREK MYERS,                                          :
                                                      :
        Plaintiff,                                    :
                                                      :       Case No. 2:19-cv-01458
        v.                                            :       Judge Algenon Marbley
                                                      :       Magistrate Judge Kimberly Jolson
VILLAGE OF NEW HOLLAND, OHIO, et al.,                 :
                                                      :
        Defendants.                                   :

                                FIRST AMENDED COMPLAINT

        Plaintiff, Derek Myers (“Plaintiff Myers”) brings this action against defendants, Village of

   New Holland, Ohio (“Defendant New Holland”), Clair Betzko (“Defendant Betzko”) in his

   individual and official capacities, William Jason Lawless (“Defendant Lawless”) in his

   individual and official capacities, and Christopher Mosley (“Defendant Mosley”) in his

   individual and official capacities (Collectively “Defendants”).

   I.        PRELIMINARY STATEMENT

             1. This action is a civil rights action brought by the Plaintiff against Defendants for

                multiple acts of harassment in retaliation for his news reporting about improper

                behavior of Defendants. In an effort to silence and discredit Plaintiff Myers, the

                Village of New Holland through its police division waged a campaign against him

                which included false arrests, threats, intimidation, and harassment. These actions

                were taken to silence Plaintiff Myers and to punish him for exercising his First

                Amendment rights.

             2. The claims set forth in this Complaint arise out of deprivations of Plaintiff Myer’s

                Constitutional rights guaranteed by the Fourth, Sixth and Fourteenth Amendments

                of the United States Constitution. In addition to Plaintiff’s claims under Federal
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            Law, Plaintiff Myer’s action also includes claims under Ohio state statutory and

            common laws.

   II.   PARTIES AND JURISDICTION

         3. At all times relevant herein, Plaintiff Myers, was a resident of Fayette, Pickaway,

            and/or Warren County, Ohio.

         4. At all times relevant to this case, Defendant New Holland is a political subdivision

            organized and existing under the laws of the State of Ohio. The New Holland

            Division of Police is a subdivision of Defendant New Holland.

         5. At all times relevant to this case, Defendant Betzko was employed by the Village

            of New Holland as its Mayor. Betzko is a “person” under 42 U.S.C. § 1983 and at

            all times relevant to this case acted under color of law.

         6. Defendant Lawless was employed by the Village of New Holland as its Village

            Administrator and Chief of Police from 2016 through July 2018. Defendant lawless

            is a “person” under 42 U.S.C. § 1983 and at all times relevant to this case acted

            under color of law.

         7. Defendant Mosley is employed by the Village of New Holland as its Village

            Administrator and Chief of Police. He began his position in August 2018.

            Defendant Mosley is a “person” under 42 U.S.C. § 1983 and at all times relevant

            to this case acted under color of law.

         8. The Court has original jurisdiction over this action under 28 U.S.C. § 1331 because

            the action arises under the laws of the United States and involves federal questions,

            including, but not limited to, those related to United States Constitution



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             Amendments IV and XIV, § 1983 and § 1985. This Court also has pendent

             jurisdiction of state law claims pursuant to 28 US.C. § 1367.

          9. Jurisdiction is proper as the Causes of Action are brought pursuant to the laws of

             the United States and/or utilize the same core of operative facts and is, therefore,

             subject to supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

          10. Venue lies in the Southern District of Ohio because the facts leading to the dispute

             between the parties occurred in Fayette County, Ohio and Pickaway, County, Ohio,

             both counties within this District, and the Defendants are doing business in this

             District.

   III.   COMMON ALLEGATIONS AS TO ALL CLAIMS

                                              BACKGROUND

          11. Plaintiff Myers is a freelance television and print news reporter. He runs several

             social media platforms and, at all times relevant to this case, he used those platforms

             to share local news stories in and around Pickaway County, Ohio and Fayette

             County, Ohio.

          12. At or about February 2017, Plaintiff Myers began doing ride-alongs with Defendant

             Lawless, the then Chief of Police and Administrator of Defendant New Holland, to

             assist Defendant Lawless in investigating allegations of corruption that Plaintiff

             Myers had received from his sources.

          13. Plaintiff Myers used his journalism platforms to exercise his First Amendment

             rights to report on issues within the Village of New Holland, causing Defendants,

             many New Holland policymakers, and residents to dislike Plaintiff Myers.



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         14. During the course of Plaintiff Myers’ investigation of New Holland, Plaintiff Myers

            learned that the New Holland mayor, Defendant Betzko, had signed some timecards

            for Defendant Betzko’s son who also worked for Defendant New Holland, which

            was a potential conflict of interest.

         15. Plaintiff Myers reached out to Defendant Betzko via text message on October 5,

            2017 at 8:29 P.M. requesting any comment on the pending timecard story that

            Plaintiff Myers was going to publish.

         16. Defendant Betzko did not respond to Plaintiff Myers’ request as outlined in

            Paragraph 15 herein but twelve hours later Plaintiff Myers received a text message

            from Defendant Lawless.

         17. The text message, referenced in Paragraph 16 herein, received at 9:00 A.M. on

            October 6, 2017, read: “Its [sic] Lawless. I need you to come to my office today.

            Its [sic] very important. Let me know what time u [sic] can be here.”

         18. Plaintiff Myers responded by text and asked Defendant Lawless why he needed to

            come to his office but Defendant Lawless did not respond.

         19. In addition to discovering information about Defendant Betko signing his son’s

            timecards, Plaintiff Myers had also uncovered other information that could shed a

            bad light on the Village of New Holland and on its police department, including

            Plaintiff Myers witnessing Defendant Lawless threatening officers about ticket

            quotas and forcing them to write a certain number of citations each shift, or they

            would face discipline.




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         20. Plaintiff Myers had intentions of releasing a series of these other articles about the

            Village of New Holland and was concerned that Defendant Lawless and Defendant

            Betzko were panicking about potential backlash from these publications.

         21. Plaintiff Myers called Defendant Lawless and asked why he wanted to see him so

            urgently, wherein Defendant Lawless told Plaintiff Myers that he did not want to

            talk about it over the phone or through text, and that it was in Plaintiff Myers’ best

            interest to come into Defendant Lawless’ office that day.

         22. On October 6, 2017, after Defendant Lawless did not provide information on why

            it was so urgent to meet with Plaintiff Myers, Plaintiff Myers reached out to

            Defendant Betzko’s clerk, Shannon Clegg.

         23. When Plaintiff Myers asked Ms. Clegg why Defendant Lawless wanted him to

            come into the police station, Ms. Clegg informed Plaintiff Myers that Defendant

            Lawless wanted to meet with him because Defendant Betzko did not want Plaintiff

            Myers to release the story about his son’s timecards.

         24. Ms. Clegg further informed Plaintiff Myers that Defendant Lawless told her that if

            Plaintiff Myers did not back off and leave New Holland alone, then charges would

            be filed against Plaintiff Myers for allegedly disrupting the August 8, 2017 New

            Holland Village Council Meeting and the New Holland Police Division would

            investigate criminal charges against Plaintiff Myers for allegedly having sex with

            minor boys.

         25. Ms. Clegg further informed Plaintiff Myers that Henry Onions was someone

            Defendant Lawless had stated would be able to corroborate these charges.



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         26. Plaintiff Myers told Ms. Clegg, “you know none of that stuff happened,” and Ms.

            Clegg agreed but then just continued to warn Plaintiff Myers not to publish the story

            or he would “regret it.”

         27. On October 6, 2017, Plaintiff Myers authored and posted an article online entitled

            “EXCLUSIVE: Mayor Signing Son’s Time Cards,” reporting that the New Holland

            mayor, Defendant Betzko, was signing timecards for his son and noted that this was

            an ethical violation.

         28. In addition to posting the news article about the timecards, Plaintiff Myers

            contacted the FBI and reported the conversation Plaintiff Myers had with Ms. Clegg

            about Defendant Lawless threatening him with false and fabricated criminal

            charges in order to quash the publication of the news article.

         29. Plaintiff Myers was concerned that Defendant Lawless would abuse his position of

            power as Chief of Police and frame Plaintiff Myers for crimes he did not commit.

         30. Plaintiff Myers was informed by the FBI that the case would be assigned to a local

            field office for investigation.

OCTOBER 7, 2017 –SPEED AND FAILURE TO SIGNAL

         31. On October 7, 2017, the day after he posted the timecard article, Plaintiff Myers

            became aware that Defendant Lawless had pulled over Henry Onions and was

            conducting a longer than normal traffic stop.

         32. Plaintiff Myers traveled to the scene of the stop.

         33. Upon arriving at the location of the traffic stop, Plaintiff Myers observed both

            Defendant Lawless and Defendant Betzko together.



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         34. Plaintiff Myers approached Defendant Lawless and asked him about the traffic

            stop.

         35. Plaintiff Myers pulled his vehicle next to Defendant Lawless’ vehicle and informed

            Defendant Lawless to stop the harassment upon him and to leave him alone.

         36. When Plaintiff Myers started to drive away Defendant Lawless then followed

            Plaintiff Myers.

         37. After traveling less than 500 feet, Defendant Lawless turned on his cruiser flashers

            and pulled over Plaintiff Myers under the false pretense that Plaintiff Myers was

            speeding and had failed to use his turn signal when he was leaving the scene of the

            initial traffic stop just 500 feet away.

         38. Plaintiff Myers disputes that he was speeding and disputes that he failed to use a

            turn signal.

         39. Defendant Lawless gave Plaintiff Myers two tickets, one for speeding and one for

            failing to use a turn signal. (The Village of New Holland vs. Derek Myers, Case No.

            17-TRD-00342).

         40. After issuing Plaintiff Myers the two tickets, Defendant Lawless proceeded to

            threaten Plaintiff Myers, including but not limited to stating “I’m done with you,

            and you are done. You get the f***out of here and quit or you’re done.”

         41. After the threats made by Defendant Lawless, Plaintiff Myers immediately

            contacted the Pickaway County Sheriff’s office and met with Deputy Nicholas

            Poorman regarding said threats.

         42. Based upon the conversation with Plaintiff Myers, Deputy Poorman completed an

            incident report (Pickaway County Sheriff’s Office Incident No. 10-17-033),
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            alleging Defendant Lawless committed Aggravated Menacing against Plaintiff

            Myers.

         43. The next day, October 8, 2017, Plaintiff Myers posted a lengthy article online,

            entitled “FBI Looking into New Holland Mayor; Sheriff Investigating Police

            Chief” ending with Plaintiff Myers’ assertion that he had contacted the FBI and

            made complaints of blackmail and extortion involving Defendant Betzko and

            Defendant Lawless based on the events of the last two days, October 6-7, 2017.

         44. On October 24, 2017, Plaintiff Myers requested that the traffic tickets he received

            from Defendant Lawless on October 7, 2017 be transferred from the New Holland

            Mayor’s Court to the Circleville Municipal Court due to the obvious conflict of

            interest, which was summarily denied on October 25, 2017.

         45. On January 24, 2018, the New Holland Mayor’s court found Plaintiff Myers Guilty

            on both October 7, 2017 charges of speeding and failure to signal.

         46. Under Ohio Revised Code (ORC) § 1905.23, Plaintiff Myers had ten days after the

            New Holland Mayor’s court decision to file a notice of appeal which requires the

            case to be transferred to the local municipal court.

         47. On January 24, 2018, the same date of the guilty finding by the New Holland

            Mayor’s Court, Plaintiff Myers timely appealed the findings by filing a Notice of

            Appeal requesting the case to be transferred to the Circleville Municipal Court.

         48. The New Holland Mayor’s Court refused to follow through with the appeal and

            request for transfer. New Holland Mayor’s court failed to transfer the case to the

            Circleville Municipal Court.



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OCTOBER 13, 2017 –TWO COUNTS OF MENACING AND DISTURBING A LAWFUL MEETING

         49. On October 13, 2017, just five days after Plaintiff Myers posted his article about

            contacting the FBI regarding Defendant Lawless and Defendant Betzko. Defendant

            Lawless filed -three more criminal complaints against Plaintiff Myers.

         50. The first complaint, State of Ohio v. Derek Myers, Circleville Municipal Court Case

            No. 17-CRB-1368-A, was for an alleged violation of ORC § 2903.22 (“Menacing”)

            for actions Plaintiff Myers allegedly took involving Henry Onions on the evening

            of the traffic stop (although the Complaint refers to events that allegedly occurred

            on August 14, 2017, not October 7, 2017, it is assumed that this was a typographical

            error by Defendant Lawless).

         51. The second complaint, State of Ohio vs. Derek Myers, Circleville Municipal Court

            Case No. 17-CRB-1368-B, and third complaint, State of Ohio vs. Derek Myers,

            Circleville Municipal Court Case No. 17-CRB-1368-C were alleged violations

            against Plaintiff Myers of ORC § 2903.22 (“Menacing”) and ORC § 2917.12

            (“Disturbing a lawful meeting”), for actions Plaintiff Myers allegedly took against

            New Holland City Council Member Greg Shaw two months earlier on August 14,

            2017 at a City Council meeting.

         52. A summons was issued for all three charges at the direction of Defendant Lawless,

            with Defendant Lawless including a printout of the article posted by Plaintiff Myers

            as Defendant Lawless’ supporting evidence for the charges.

         53. The first menacing charge against Plaintiff Myers, Circleville Municipal Court

            Case No. 17-CRB-01368-A, was later dismissed.



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         54. The second menacing charge against Plaintiff Myers, Circleville Municipal Court

            Case No. 17-CRB-01368-B, was later dismissed.

         55. The disturbing a lawful meeting charge against Plaintiff Myers, Circleville

            Municipal Court Case No. 17-CRB-01368-C, was reduced to a lesser offense, a

            minor misdemeanor of disorderly conduct.

OCTOBER 13, 2017 –THEFT OF PROPERTY

         56. On October 13, 2017, New Holland Police Administrative Assistant and Clerk of

            Courts Shannon Clegg called Defendant Lawless and stated that she was “going to

            make sure that Derek Myers lost his phone and laptop. She said that no one was

            gonna (sic) get hurt, but Myers would not have his phone and laptop anymore.

         57. Defendant Lawless was concerned enough about the threats from his assistant and

            Clerk of Courts Shannon Clegg to file an incident report, Number 2017-1142, about

            said phone call and threats.

         58. Defendant Lawless did not inform Plaintiff Myers of the threats or phone call from

            Shannon Clegg.

         59. Plaintiff Myers’ hard drive on his laptop and one of his old phones became missing

            at some period in October/November 2017.

         60. Unknown of the threats against him regarding stealing his phone and laptop,

            Plaintiff Myers did not report the items stolen.

         61. Upon information and belief, at some period after October/November 2017,

            Defendants came into possession of Plaintiff’s hard drive.

         62. Defendants did not inform Plaintiff that they were in possession of his

            stolen/missing property.
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NOVEMBER 29, 2017 –RECKLESS OPERATION AND PEELING OUT

         63. When Plaintiff Myers visited the Mayor’s court on November 29, 2017 for a

            hearing on his October 7, 2017 traffic tickets for “Speeding” and “Failure to

            Signal.” Plaintiff Myers was immediately approached by a former resident of New

            Holland, Brenda Carroll-Landman, who was recording him via her cell phone.

         64. Ms. Carroll-Landman asked Plaintiff Myers, while recording live on Facebook

            feed, if Plaintiff Myers “paid $200 to have sex with young boys, like you done with

            Henry” and made several other disturbing remarks about Plaintiff Myers.

         65. During the confrontation, Ms. Carroll-Landman’s video footage shows her

            reaching out and touching Plaintiff Myer’s chest, causing him to immediately panic.

         66. Plaintiff Myers was then asked to leave the building at the request of New Hollands

            Mayor’s Court Magistrate Howard Mellon.

         67. Even though Defendant Lawless was present at the time, he did not discipline or

            restrain Brenda Carroll-Landman.

         68. Plaintiff Myers calls for help to the Pickaway County Sheriff’s office who sent two

            deputies and an ambulance and transported Plaintiff Myers to the hospital for

            injuries sustained in the encounter with Brenda Carroll-Landman.

         69. Defendant Lawless issued another set of tickets for Plaintiff Myers when Plaintiff

            Myers left the Mayor’s court. Defendant Lawless charged Plaintiff Myers with

            “Reckless Operation” and with “Peeling Out” (Village of New Holland vs. Derek

            Myers, 17TRE00389).



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         70. Despite there being no evidence submitted by Defendant Lawless to support the

            charges of Reckless Operation and Peeling Out, Plaintiff Myers was found Guilty

            of Reckless Operation and Not Guilty of Peeling Out on January 24, 2018.

         71. Plaintiff Myers appealed the Guilty finding on the Reckless Operation to the

            Circleville Municipal Court on January 24, 2018. Again, the Village of New

            Holland Mayor’s Court failed to transfer the case to the Circleville Municipal Court

            as it was required to do.

NOVEMBER 30, 2017 –RESISTING ARREST, INDUCING PANIC, AND DISORDERLY CONDUCT

         72. On November 30, 2017, New Holland issued a warrant for Plaintiff Myers’ arrest

            in regard to Plaintiff Myers’ October 7, 2017 “Speed” and “Failure to Signal”

            tickets, presumably because after having been assaulted by Brenda Carroll-

            Landman and at the instruction and order of Magistrate Mellon, Plaintiff Myers left

            the Mayor’s court prior to the hearing on November 29, 2017.

         73. Both of Plaintiff Myer’s October 7, 2017 charges are minor misdemeanors, with no

            jail time required to be served, and therefore, it was improper for Defendant New

            Holland to issue such warrant and they had no probable cause to do so.

         74. On November 30, 2017, Plaintiff Myers sees Defendant Lawless in the Washington

            Court House Municipal Court and suffers a panic attack to the point Plaintiff Myers

            was lying in a fetal position on the floor. Plaintiff Myers was transported by EMS

            to the hospital.

         75. On November 30, 2017, Defendant Lawless sent New Holland Sergeant Charles

            “Brad” Mick to arrest Plaintiff Myers while Plaintiff Myers was at the hospital

            being treated for his panic attack.
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         76. When Plaintiff Myers is discharged from the hospital, Plaintiff Myers was

            presented with a warrant for his arrest in regard to the October 7, 2017 traffic

            tickets. During the arrest, Defendant Lawless alleges that Plaintiff Myers “resisted

            arrest,” “induced panic,” and committed “disorderly conduct.” Plaintiff Myers was

            transported to the Pickaway County Jail and held on bond. Plaintiff Myers bonded

            out approximately four hours later.

         77. A warrant block was sent to the BMV and Plaintiff Myers was therefore unable to

            renew his license.

         78. Further, Plaintiff Myers personal information including his social security number

            and drivers license number was released by Defendant Lawless to residents and

            former residents of New Holland. Those residents used this information to access

            the BMV’s online portal and post on social media Plaintiff Myers personal,

            sensitive information.

         79. On November 30, 2017, Defendant Lawless filed three more criminal complaints

            against Plaintiff Myers, for “Inducing Panic,” “Disorderly Conduct,” and

            “Resisting Arrest.”

         80. On July 19, 2018, Sergeant “Brad” Mick signed an affidavit, stating that he was

            forced by his supervisor Defendant Lawless to execute the November 30, 2017

            arrest warrant against Plaintiff Myers regarding the October 7, 2017 Speed and

            Failure to Signal tickets, and further states that Defendant Lawless pressured

            Sergeant Mick to sign the Resisting Arrest charge against Plaintiff Myers. Sergeant

            Mick noted in his affidavit that , “I do not believe the warrant was a valid warrant

            and I choose to no longer pursue the case.”
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         81. On July 31, 2018 the three false and fabricated charges of Inducing Panic, Resisting

            Arrest, and Disorderly Conduct against Plaintiff Myers were dismissed by the

            Washington Court House Municipal Court.

FEBRUARY 23, 2018 – TELECOMMUNICATION HARASSMENT

         82. With the assistance of Defendant Lawless, Ms. Carroll-Landman continued to

            harass Plaintiff Myers, even after her November 29, 2017 confrontation with

            Plaintiff Myers at the New Holland Mayor’s Court.

         83. On February 23, 2018, Plaintiff Myers received a voicemail from Ms. Carroll-

            Landman. In the voicemail, Ms. Carroll-Landman called Plaintiff Myers a “fucking

            fag.”

         84. The first call was received on February 23, 2018 at 12:30 P.M. from the cell phone

            of Ms. Carroll-Landman and was followed by approximately six more consecutive

            calls starting at 1:05 P.M., with all of these additional calls coming from the phone

            number 740-495-5097, which is the phone number of the Office of the Village of

            New Holland located at 10 East Front Street, New Holland, Ohio 43145.

         85. In response to these calls, Plaintiff Myers was granted, a protection order against

            Brenda Carroll-Landman in Warren County, Ohio. Ms. Carroll-Landman was later

            charged with telecommunications harassment in relation to the February 23, 2018

            phone calls to Plaintiff Myers.

         86. On July 11, 2018, Brenda Carroll-Landman reached out to New Holland Sergeant

            Charles “Brad” Mick to provide her statement of events. Mayor Defendant Betzko,

            instructed Sergeant Mick to stop the interview with Ms. Carroll-Landman.



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         87. Brenda Carroll-Landman told Sergeant Mick that on February 23, 2018, while she

            was inside the New Holland Police Division, she called Plaintiff Myers on the desk

            phone in Defendant Lawless’ office and admitted to calling Plaintiff Myers a

            “fucking fag” from inside the police chief’s office.

         88. Brenda Carroll-Landman further stated that Defendant Lawless provided her with

            Plaintiff Myers’ phone number and that Defendant Lawless was present while she

            made the harassing phone calls to Plaintiff Myers on February 23, 2018.

         89. Sergeant Mick filed misdemeanor charges of Telecommunications Harassment and

            Dereliction of Duty against Defendant Lawless for his role in helping Brenda

            Carroll-Landman harass Plaintiff Myers.

         90. Sergeant Mick also charged Defendant Betzko with a misdemeanor charge of

            Obstructing Official Business for trying to stop Sergeant Mick from interviewing

            Brenda Carroll-Landman about the telecommunications harassment.

         91. In June of 2018, Defendant Lawless hosted a festival on the grounds of the Village

            of New Holland Police Division. Upon information and belief, this festival was

            sponsored by the Defendants for the sole purpose of disparaging, defaming, and

            harassing Plaintiff Myers. This festival was advertised on social media as the

            “Derek Myers Sucks Festival.”

         92. In July 2018, Defendant Lawless resigned as Chief of Police.

         93. In August 2018, New Holland appointed Defendant Christopher Mosley as the new

            Chief of Police.

 OCTOBER 30, 2018 – CHARGES OF OBSTRUCTION, INDUCING PANIC, AND RESISTING ARREST



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         94. On October 30, 2018, Plaintiff Myers was charged with crimes by the New Holland

            Police Department by the new police chief, Defendant Christopher Mosley.

         95. On October 30, 2018, Plaintiff Myers was peacefully camping with permission on

            private property owned by Karen Francis when New Holland Police Officer Cody

            Powell arrived and asked for Myers’ ID, upon which Plaintiff Myers provided his

            social security number to Officer Powell.

         96. Officer Powell then placed Plaintiff Myers in handcuffs and placed Plaintiff Myers

            in the back of his police cruiser, causing damage to Plaintiff’s Myers thumb.

         97. Officer Powell then called the new police chief, Defendant Mosley, to the scene of

            the arrest.

         98. At the scene Defendant Mosley told Plaintiff Myers that he could “make a deal”

            with Plaintiff Myers and could write him up for a minor misdemeanor of disorderly

            conduct if Plaintiff Myers would “take it easy” on the Defendant Village of New

            Holland in his news reporting.

         99. Chief of Police Defendant Mosley later asked Sergeant Mick if he could “influence

            Mr. Myers” and get him to write positive articles about the Defendant Village of

            New Holland in exchange for evidence about possible corruption in a neighboring

            county that could be beneficial for Plaintiff Myers’ career, Sergeant Mick declined

            to do so.

         100.       Plaintiff Myers was subsequently charged with Obstruction, Inducing

            Panic, and Resisting Arrest for the events stemming from October 30, 2018.

         101.       Plaintiff Myers spent 35 days in jail because of these false and fabricated

            charges.
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         102.         All three charges were later dismissed by the Circleville Municipal Court.

                                   CLAIMS FOR RELIEF

                                        COUNT ONE

    42 U.S.C. § 1983 – UNLAWFUL ARREST IN VIOLATION OF THE FOURTH AND
                            FOURTEENTH AMENDMENTS

         103.         The preceding paragraphs are incorporated by reference as if fully restated

            herein.

         104.         This claim is brought pursuant to 28 U.S.C. § 1983 to vindicate Plaintiff’s

            right against unlawful arrest under the Fourth and Fourteenth Amendments to the

            Constitution of the United States.

         105.         Plaintiff Myers’ arrest on November 30, 2017 by Defendants was an

            unlawful arrest as there was no probable cause to issue the initial warrant for

            Plaintiff Myers because he had only been charged with two non-jailable offenses at

            that time.

         106.         The three additional charges for which Plaintiff Myers was arrested on

            November 30, 2017, “Resisting Arrest”, “Inducing Panic” and “Disorderly

            Conduct,” were later admitted by Sergeant Mick to be false and fabricated and

            these charges were dismissed by the Circleville Municipal Court.

         107.         Plaintiff Myers’ arrest on October 30, 2018 by Defendants was also

            unlawful as Defendant Mosley only arrested Plaintiff Myers in retaliation for his

            stories posted about Defendant New Holland.

         108.         Defendant Mosley told Plaintiff Myers that he would write him up for a

            lessor crime if he would “take it easy” on the Village in his news reporting.

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         109.             Plaintiff Myers refused to succumb to Defendant Mosley’s threats and

                intimidation and the charges against Plaintiff Myers were later dismissed by the

                Circleville Municipal Court.

         110.             At all times material hereto, Defendants were employees and/or agents of

                Defendant Village of New Holland and acting within the course and scope of their

                employment with same, and acting under color of law, to wit, under color of the

                statutes, ordinances, regulations, policies, customs, and usages of Defendant

                Village of New Holland.

         111.             As a direct and proximate result of the actions of these Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme

                pain and emotional distress, humiliation, fear, and personal and economic injury.

                Plaintiff Myers incurred medical and legal expenses and will continue to suffer

                injury and loss in the future, and incurred court fees and costs.

                                             COUNT TWO

    42 U.S.C. § 1983 – RETALIATORY ARREST/PROSECUTION IN VIOLATION OF
                              THE FIRST AMENDMENT

         112.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         113.             This claim is brought pursuant to the First and Fourteenth Amendments to

                the Constitution of the United States, to vindicate Plaintiff’s right to free

                expression.

         114.             It is well established that government actions, which standing alone do not

                violate the Constitution, may nonetheless be constitutional torts if motivated in

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                substantial part by a desire to punish an individual for exercise of a constitutional

                right.

         115.            Retaliation under color of law for the exercise of First Amendment rights is

                unconstitutional.

         116.            The Sixth Circuit in recent years has reached a coalescence of law that even

                an arrest supported by probable cause could nevertheless violate the First

                Amendment if the arrest was motivated by retaliation.

         117.            On October 7, 2017, Plaintiff published an article online that harshly

                criticized New Holland Mayor, Defendant Betzko, and Plaintiff continued to

                harshly criticize Betzko and the New Holland Police Department in subsequent

                articles published online and on social media posts.

         118.            In retaliation for exercising his right to free expression, Defendants charged

                Plaintiff with various misdemeanor crimes.

         119.            Within an eight-week span, Defendant Lawless charged Plaintiff Myers

                with a total of ten (10) different misdemeanor crimes.

                October 7, 2017:       Speed                                 DISMISSED
                October 7, 2017:       Failure to Signal                     DISMISSED
                October 13, 2017:      Stalking by Menacing                  DISMISSED
                October 13, 2017:      Menacing                              DISMISSED
                October 13, 2017:      Disturbing a Lawful Meeting           REDUCED
                                                                             to Disorderly Conduct
                November 29, 2017: Reckless Operation                        DISMISSED
                November 29, 2017: Peeling Out                               DISMISSED
                November 30, 2017: Resisting Arrest                          DISMISSED
                November 30, 2017: Inducing Panic                            DISMISSED
                November 30, 2017: Disorderly Conduct Charges                DISMISSED




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         120.          Defendant Lawless made it clear that these charges and arrests were an

                attempt to silence Plaintiff Myers and keep him from posting negative articles about

                Defendant New Holland.

         121.          On October 30, 2018, Defendant Mosley also arrested Plaintiff Myers in

                retaliation for his stories posted about Defendant New Holland, with Defendant

                Mosley expressly telling Plaintiff Myers that he would write him up for a lessor

                crime if he would “take it easy” on the Village in his news reporting.

         122.          Plaintiff Myers exercised his First Amendment rights when he published

                articles about Defendants and otherwise voiced his disapproval of the Defendants’

                actions.

         123.          Each time that Plaintiff Myers was arrested or charged with a crime, as

                enumerated above, it was done in direct retaliation for Plaintiff Myers exercising

                his First Amendment rights.

         124.          Defendants knew that their actions were in violation of Plaintiff Myers’

                federally protected rights or were reckless in disregard of those rights.

         125.          As a direct and proximate result of the actions of these Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme

                pain and emotional distress, humiliation, fear, and personal and economic injury.

         126.          Plaintiff Myers incurred medical and legal expenses and will continue to

                suffer injury and loss in the future and incurred court fees and costs.

                                         COUNT THREE

        42 U.S.C. § 1983 – MALICIOUS PROSECUTION IN VIOLATION OF THE
                                FOURTH AMENDMENT

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         127.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         128.             The Sixth Circuit recognizes a separate constitutionally cognizable claim of

                malicious prosecution under the Fourth Amendment which encompasses wrongful

                investigation, prosecution, conviction, and incarceration.

         129.             The tort of malicious prosecution is distinct from that of false arrest, as the

                malicious- prosecution tort remedies detention accompanied not by absence of legal

                process, but by wrongful institution of legal process.

         130.             Defendants only investigated, prosecuted, and incarcerated Plaintiff Myers

                for the thirteen (13) misdemeanors as described above in an attempt to intimidate

                Plaintiff Myers and force him to stop reporting negative articles about Defendant

                New Holland (The 10 charges issued by Defendant Lawless as described in

                Paragraph 110 herein and the 3 additional charges issued by Defendant Mosley).

                October 30, 2018:       Obstruction                      DISMISSED
                October 30, 2018:       Inducing Panic                   DISMISSED
                October 30, 2018:       Resisting Arrest                 DISMISSED

         131.             There was lack of cause for the criminal prosecutions against Plaintiff

                Myers and as a consequence of the prosecutions, Plaintiff Myers suffered a

                deprivation of liberty.

         132.             Most of the prosecutions were resolved in Plaintiff Myers’ favor with the

                prosecutions that were not resolved in Plaintiff Myers’ favor still pending because

                Plaintiff Myers requested an appeal, but Defendants have refused to honor it.

         133.             As a direct and proximate result of the actions of the Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme
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                pain and emotional distress, humiliation, fear, and personal and economic injury.

                Plaintiff Myers incurred medical and legal expenses and will continue to suffer

                injury and loss in the future and incurred court fees and costs.

                                            COUNT FOUR

                              42 U.S.C. § 1985 – CIVIL CONSPIRACY

         134.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         135.             Under 42 U.S.C. § 1985, it is unlawful for any party to conspire with another

                party to deprive others of their civil rights.

         136.             Defendants conspired together for the purpose of depriving Plaintiff Myers

                of his constitutional rights.

         137.             Defendant Betzko and Defendant Lawless were working together to silence

                Plaintiff Myers and to protect their reputations and the reputation of the Defendant

                Village of New Holland.

         138.             Defendant Betzko, as mayor of New Holland, failed to discipline Defendant

                Lawless for his unlawful actions against Plaintiff Myers and was with Defendant

                Lawless at the time of Plaintiff Myers’ first arrest.

         139.             Defendant Betzko’s clerk, Shannon Clegg, informed Plaintiff Myers that it

                was at Mayor Defendant Betzko’s request that Defendant Lawless reach out to

                Plaintiff Myers on October 6, 2017 in an attempt to silence Plaintiff Myers from

                negative news reporting.

         140.             Defendants Lawless conspired to harass Plaintiff Myers in an attempt to

                silence Plaintiff Myers.
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         141.             Defendants conspired to fabricate menacing charges against Plaintiff

                Myers.

         142.             Defendants conspired to concoct allegations that Plaintiff Myers was

                sexually molesting young boys.

         143. Defendants conspired to steal Plaintiff Myers phone and laptop.

         144.             On or about March 12, 2018, Defendants conspired to pass a resolution to

                “pursue all legal avenues in regards to Dereck [sic] Myers and declaring this to be

                an emergency.”, with said resolution signed by Mavis Yourchuck, Fiscal Officer

                for the Village of New Holland, and by Mayor Defendant Betzko on April 9, 2018.

         145.             Subsequent to and pursuant to the order of the Village Council through its

                resolution, Plaintiff Myers was charged and arrested for three more criminal

                offenses by the Defendants, all of which were eventually dismissed.

         146.             As a direct and proximate result of the actions of these Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme

                pain and emotional distress, humiliation, fear, and personal and economic injury.

                Plaintiff Myers incurred medical and legal expense and will continue to suffer injury

                and loss in the future and incurred court fees and costs.

                                             COUNT FIVE

     42 U.S.C. § 1985 – MONELL CLAIMS AGAINST VILLAGE OF NEW HOLLAND

         147.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         148.             At all times material hereto, Defendants were employees and/or agents of

                Defendant Village of New Holland and were acting within the course and scope of
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                their employment with same, and in furtherance of the interest of Defendant Village

                of New Holland, and with Defendant Village of New Holland’s consent.

         149.          The Village of New Holland directly caused the constitutional violations

                suffered by Plaintiff Myers and is liable for the damages suffered by Plaintiff Myers

                as a result of the conduct of the individually named Defendants, which said conduct

                being a direct consequence of policies and practices of Defendant Village of New

                Holland.

         150.          Defendant Mayor Betzko had actual knowledge and/or had constructive

                knowledge and/or failed to conduct a proper investigation into the actions of

                Defendant Lawless and Defendant Mosley.

         151.          A proper investigation would have concluded that Defendants participated

                in a pattern of conduct toward Plaintiff Myers that was unconstitutional and that

                Defendant Betzko, as a policymaker for the Defendant Village of New Holland,

                participated in and created a pattern of conduct that was unconstitutional.

         152.          Defendant Lawless, as the Chief of Police and Village Administrator, was

                the policymaker for the Defendant Village of New Holland and participated in and

                created a pattern of conduct that was unconstitutional.

         153.          Defendant Village of New Holland had actual knowledge and/or had

                constructive knowledge and/or failed to conduct a proper investigation into the

                actions of Defendant Betzko, Defendant Lawless, and Defendant Mosley. A proper

                investigation would have concluded that these Defendants participated in a pattern

                of conduct that was unconstitutional.



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         154.             At the time of the incidents described in this Complaint, the pattern of

                unlawful conduct was established through policy, practice and custom of the

                Defendant Village of New Holland and the New Holland Police Division.

         155.             By tacitly authorizing the behavior of Defendants, the policymakers and

                those responsible for hiring, training and supervision of police officers within the

                Village of New Holland acted negligently, recklessly, intentionally, willfully,

                wantonly, knowingly and with deliberate indifference to the serious safety needs of

                the citizens of the Village of New Holland, including Plaintiff Derek Myers.

         156.             Defendant Village of New Holland has a policy, practice and custom of

                failing to adequately investigate and discipline police officers who exhibit

                unconstitutional conduct. This policy, practice and custom was the moving force

                behind the unconstitutional actions against Plaintiff Derek Myers.

         157.             Defendant Village of New Holland has a policy, practice and custom of

                failing to investigate civilian complaints against officers consisting of

                unconstitutional conduct. This policy, practice and custom was the moving force

                behind the unconstitutional actions against Plaintiff Derek Myers.

                                             COUNT SIX

                     MALICIOUS PROSECUTION UNDER OHIO LAW

         158.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         159.             Defendants only investigated, prosecuted, and incarcerated Plaintiff Myers

                for the thirteen (13) misdemeanors as described above in an attempt to intimidate



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                Plaintiff Myers and force him to stop reporting negative articles about Defendant

                New Holland.

         160.             There was lack of probable cause for the criminal prosecutions against

                Plaintiff Myers and as a consequence of the prosecutions, Plaintiff Myers suffered

                a deprivation of liberty.

         161.             Most of the prosecutions were resolved in Plaintiff Myers’ favor with the

                prosecutions that were not resolved in Plaintiff Myer’s favor still pending because

                Plaintiff Myers requested an appeal, but Defendants have refused to honor it.

         162.             As a direct and proximate result of the actions of the Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme

                pain and emotional distress, humiliation, fear, and personal and economic injury.

                Plaintiff Myers incurred medical and legal expenses and will continue to suffer

                injury and loss in the future and incurred court fees and costs.

                                            COUNT SEVEN

                            CIVIL CONSPIRACY UNDER OHIO LAW

         163.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         164.             Defendants conspired together for the purpose of depriving Plaintiff Myers

                of his constitutional rights.

         165.             Defendant Betzko and Defendant Lawless were working together to silence

                Plaintiff Myers and to protect their reputations and the reputation of the Defendant

                Village of New Holland.



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         166.            Defendant Betzko, as mayor of New Holland, failed to discipline Defendant

                Lawless for his unlawful actions against Plaintiff Myers and was with Defendant

                Lawless at the time of Plaintiff Myers’ first arrest.

         167.            Defendant Betzko’s clerk, Shannon Clegg, informed Plaintiff Myers that it

                was at Mayor Defendant Betzko’s request that Defendant Lawless reach out to

                Plaintiff Myers on October 6, 2017 in an attempt to silence Plaintiff Myers from

                negative news reporting.

         168.            Defendants conspired to harass Plaintiff Myers in an attempt to silence

                Plaintiff Myers.

         169.            Defendants conspired to fabricate menacing charges against Plaintiff

                Myers.

         170.            Defendants conspired to concoct allegations that Plaintiff Myers was

                sexually molesting young boys.

         171. Defendants conspired to steal Plaintiff Myers phone and laptop.

         172.            On or about March 12, 2018, Defendants conspired to pass a resolution to

                “pursue all legal avenues in regards to Dereck [sic] Myers and declaring this to be

                an emergency.”, with said resolution signed by Mavis Yourchuck, Fiscal Officer

                for the Village of New Holland, and by Mayor Defendant Betzko on April 9, 2018.

         173.            Subsequent to and pursuant to the order of the Village Council through its

                resolution, Plaintiff Myers was charged and arrested for three more criminal

                offenses by the Defendants, all of which were eventually dismissed.

         174.            As a direct and proximate result of the actions of these Defendants, Plaintiff

                Myers was seized, incarcerated, repeatedly summoned to court, suffered extreme
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                pain and emotional distress, humiliation, fear, and personal and economic injury.

                Plaintiff Myers incurred medical and legal expense and will continue to suffer injury

                and loss in the future and incurred court fees and costs.

                                           COUNT EIGHT

                                       ABUSE OF PROCESS

         175.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         176.             Defendants have initiated legal proceedings in an attempt to accomplish

                ulterior purposes including the harassment of Plaintiff Myers and to stop Plaintiff

                Myers from exercising his First Amendment Rights.

         177.             Defendants have used the legal process to accomplish a result outside its

                legal scope.

         178.             As a direct and proximate result of Defendants' abuse of process, Plaintiff

                Myers have been harassed, suffered damages and continues to suffer damages.

                                            COUNT NINE

 INTENTIONAL AND/OR NEGLIGENT INFLICTION OF EMPOTIONAL DISTRESS

         179.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         180.             Defendants Betzko, Lawless and Mosley owe a duty to Plaintiff Myers to

                refrain from intentional and/or negligent injury. The wrongful conduct of

                Defendants as alleged herein has resulted in and/or has continued to result in the

                intentional and/or negligent infliction of emotional distress to Plaintiff Myers for

                which Defendants are jointly and severally liable.
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         181.             Defendants Betzko, Lawless and Mosley have breached their duty to

                Plaintiff Myers based on their conduct, actions, and/or inactions as alleged herein,

                and Defendants intentionally and proximately caused injury to Plaintiff Myers in

                the form of embarrassment, mental anguish, loss of reputation, loss of self-esteem,

                and harm to Plaintiff Myers’ relationship with his family, and other emotional

                distress resulting in physical injury in form of adverse health effects. Said injuries

                caused extreme pain and suffering in the past and will likely continue to cause pain

                and suffering in the future.

         182.             Defendants Betzko, Lawless and Mosley conduct as alleged herein was

                and/or is outrageous and has proximately caused damage to Plaintiff Myers arising

                from the intentional infliction of emotional distress upon him for which Plaintiff

                Myers is entitled to judgment and recovery under Ohio law against Defendants,

                jointly and severally.

                                            COUNT TEN

                                           DEFAMATION

         183.             The preceding paragraphs are incorporated by reference as if fully restated

                herein.

         184.             Defendants Betzko, Lawless and Mosley “published” false statements of

                fact about the Plaintiff Myers when they held the festival in June 2018 on the

                grounds of the Village of New Holland Police Division for the sole purpose of

                disparaging, defaming, and harassing Plaintiff Myers.

         185.             The false charges and festival referenced herein caused actual harm to

                Plaintiff Myers’ reputation, exposed him to public hatred, contempt, ridicule,
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            shame, disgrace, and adversely affected Plaintiff Myers’ business and personal

            reputation. Defendants Betzko, Lawless and Mosley are entirely guilty of the

            damage caused to Plaintiff Myers.

                                          COUNT ELEVEN

                                            CIVIL TEHFT

         186.         The preceding paragraphs are incorporated by reference as if fully restated

            herein.

         187.         Defendants have stolen or cause to be stolen Plaintiff’s computer hard drive.

         188.         Ohio Revised Code 2307.61 “Civil action for willful damage or theft” states

            a property owner may bring a civil action pursuant to division (A) of section

            2307.60 of the Revised Code to recover damages from any person who willfully

            damages the owner's property or who commits a theft offense, as defined in section

            2913.01 of the Revised Code.

         189.         Defendants, through their theft from Plaintiff, have taken valuable property

            from Plaintiff.

         190.         Plaintiff has been damaged by Defendants wrongful theft from Plaintiff.

         191.         Such acts of theft have caused substantial damages and potentially

            irreparable injury to Plaintiff.

         192.         Plaintiff is therefore entitled to compensatory damages and a judgment

            against Defendant in an amount to be determined at trial.

         193.         Defendants’ acts demonstrated malice and aggravated or egregious fraud.

            Plaintiff has suffered actual damages that resulted from those acts of Defendants.



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           194.       Plaintiff is entitled to an award of punitive damages in an amount to be

               determined at trial against Defendants together with costs of this action and

               reasonable attorney’s fees.

DEMAND FOR RELIEF:

On COUNT ONE – UNLAWFUL ARREST:

1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT TWO – RETALIATORY ARREST:

1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT THREE – MALICIOUS PROSECUTION:
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1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT FOUR – CIVIL CONSPIRACY:

1.     Plaintiff Myers prays for judgment against all Defendants jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Mosley and Lawless together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT FIVE – MONELL CLAIMS:

1.     Plaintiff Myers prays for judgment against the Village of New Holland in an amount no

less than $75,000.

2.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

3.     Plaintiff Myers prays for such other and further relief to which it may be entitled.
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On COUNT SIX – MALICIOUS PROSECUTION UNDER OHIO LAW:

1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Mosley and Lawless together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT SEVEN – CIVIL CONSPIRACY (OHIO):

1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Mosley and Lawless together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT EIGHT – ABUSE OF PROCESS:

1.     Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.




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2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Mosley and Lawless together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT NINE – INTENTIONAL/NEGLIGENT INFLICTION EMOTIONAL

DISRTRESS:

1.     Plaintiff Myers prays for judgment against Defendants Betzko, Lawless and Mosley,

jointly and severally, in an amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.

3.     Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.     Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT TEN – DEFAMATION:

1.     Plaintiff Myers prays for judgment against Defendants Betzko, Lawless and Mosley,

jointly and severally, in an amount no less than $75,000.

2.     Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.



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3.      Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

4.      Plaintiff Myers prays for such other and further relief to which it may be entitled.

On COUNT ELEVEN – CIVIL THEFT:

5.      Plaintiff Myers prays for judgment against all Defendants, jointly and severally, in an

amount no less than $75,000.

6.      Plaintiff Myers prays for an award of punitive damages in an amount to be determined at

trial against Defendants Betzko, Lawless and Mosley together with costs of this action and

reasonable attorney’s fees.

7.      Plaintiff Myers prays for an award of costs of this action and reasonable attorney’s fees

against Defendant Village of New Holland.

8.      Plaintiff Myers prays for such other and further relief to which it may be entitled.

                              JURY DEMAND ENDORSED HERON

Plaintiff requests a jury trial on all claims triable to a jury.

                                                         Respectfully Submitted,

                                                          /s/ Jud R. Mauger
                                                         Wesp Barwell, LLC
                                                         Attorneys at Law
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                                  CERTIFICATE OF SERVICE

I certify that on January 4, 2021, a copy of the foregoing was filed electronically. Notice of this

filing will be sent by operation of this Court’s electronic filing system to all parties indicated on

the electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may

access this filing through the Court’s system.



                                               /s/ Jud R. Mauger
                                              Jud R. Mauger (0063375)




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